98 F.3d 1335
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marlene C. SEAY, Plaintiff-Appellant,v.DEPARTMENT OF THE NAVY, Defendant-Appellee.
    No. 96-1158.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 3, 1996.Decided Oct. 9, 1996.
    
      Marlene C. Seay, Appellant Pro Se.  Barbara Murcier Bowens, OFFICE OF THE UNITED STATES ATTORNEY, Columbia, South Carolina, for Appellee.
      D.S.C.
      AFFIRMED.
      Before ERVIN, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order granting the Defendant's motion for summary judgment in this employment discrimination action.  We have reviewed the record and the district court's opinion adopting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Seay v. Department of the Navy, No. CA-94-3423 (D.S.C. Dec. 21, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    